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                               UNITED STATES DISTRICT COURT
21
                             NORTHERN DISTRICT OF CALIFORNIA
22
     DANTE DEMARTINI, et al.,                      Case No. 3:22-cv-08991-JSC
23
                           Plaintiffs,             DEFENDANT MICROSOFT
24                                                 CORPORATION’S ADMINISTRATIVE
                                                   MOTION TO FILE
25 v.
                                                   SUPPLEMENTARY MATERIAL IN
26 MICROSOFT CORPORATION,                          OPPOSITION TO PLAINTIFFS’
                                                   MOTION FOR A TEMPORARY
27                                                 RESTRAINING ORDER
                           Defendant.
28                                                 Hon. Jacqueline Scott Corley


                                                      MICROSOFT’S MOTION TO FILE SUPP. MATERIAL
                                                                        Case No. 3:22-cv-08991-JSC
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 1          Plaintiffs filed their latest request for a temporary restraining order/preliminary injunction on
 2   Wednesday, March 13. (Dkt. 350.) The next day, the Court ordered Microsoft to respond to solely
 3   the TRO request by Tuesday, March 26. (Dkt. 355.) In Plaintiffs’ reply in support of a TRO, they
 4   argue that the reports by their expert, Dr. Cabral, are “unrebutted” and therefore, they have shown a
 5   likelihood of success on the merits. (E.g., Dkt. 375 at 7:14-8:2.) This argument is legally baseless for
 6   reasons Microsoft has already explained. (See Dkt. 367 (Opp. to TRO) at 10–13.) But it is also
 7 factually incorrect: As Plaintiffs know, Microsoft’s expert, Dr. Elizabeth Bailey, submitted a report in

 8   this matter that rebuts Dr. Cabral’s reports, most of which are directed to horizontal claims that the
 9   Court previously dismissed. Simply to correct Plaintiffs’ erroneous implication, Microsoft requests
10   leave to supplement the record with Dr. Bailey’s report in this matter (attached as Exhibit A). Plaintiffs
11   have had this report since January and deposed Dr. Bailey prior to filing their reply brief. Plaintiffs
12   confirmed in writing that they object to this motion (and there was no requirement to meet and confer
13   further). (See Williams Decl., ¶ 2; Civ. L.R. 7-11(a).)
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15   Dated: April 3, 2024                                     Respectfully submitted,
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17                                                            By: /s/ Valarie C. Williams

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